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                   EXHIBIT D
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                                           CLAIM CHARTS BASED ON PRELIMINARY INFRINGEMENT ANALYSIS
                                                           U.S. Patent No. 8,224,569

                                      Ex. D - U.S. Patent No. 8,224,569 – Volvo Car Corporation and Volvo Car USA, LLC

                                                                         Claim 2



       Omnitek Partners LLC (“Omnitek”) provides evidence of infringement of claim 2 of U.S. Patent No. 8,224,569 (hereinafter “the ’569 patent”)
by Volvo Car Corporation and Volvo Car USA, LLC (collectively “Volvo”). In support thereof, Omnitek provides the following claim charts.

        “Accused Instrumentalities” as used herein refers to at least the following products and services: Volvo Sensus Navigation (See
https://www.volvocars.com/intl/why-volvo/human-innovation/future-of-driving/connectivity/sensus-navigation),available on Volvo vehicles. The
Volvo Sensus Navigation product line was introduced by at least 2013 (See https://www.digitaltrends.com/car-reviews/2013-volvo-xc60-review/ and
https://www.jdpower.com/cars/volvo/new-2013-volvo)(describing the Sensus navigation system found in a model year 2013 Volvo vehicle.)
Therefore, the infringement has been occurring since at least that time. These claim charts demonstrate Volvo’s infringement, and provide notice of
such infringement, by comparing each element of the asserted claims to corresponding components, aspects, and/or features of the Accused
Instrumentalities. These claim charts are not intended to constitute an expert report on infringement. These claim charts include information
provided by way of example, and not by way of limitation.

        The analysis set forth below is based only upon information from publicly available resources regarding the Infringing Instrumentalities, as
Volvo has not yet provided any non-public information. An analysis of Volvo’s (or other third parties’) technical documentation, and/or software
source code, may assist in fully identifying all infringing features and functionality. Accordingly, Omnitek reserves the right to supplement this
infringement analysis once such information is made available to Omnitek. Furthermore, Omnitek reserves the right to revise this infringement
analysis, as appropriate, upon issuance of a court order construing any terms recited in the asserted claims.

         Unless otherwise noted, Omnitek contends that Volvo directly infringes the ’569 patent in violation of 35 U.S.C. § 271(a) by selling, offering
to sell, making, using, and/or importing the Infringing Instrumentalities. The following exemplary analysis demonstrates that infringement. Unless
otherwise noted, Omnitek further contends that the evidence below supports a finding of indirect infringement under 35 U.S.C. §§ 271(b) and/or (c),
in conjunction with other evidence of liability under one or more of those subsections. Volvo makes, uses, sells, imports, or offers for sale in the
United States, or has made, used, sold, imported, or offered for sale in the past, without authority, or induces others to make, use, sell, import, or offer
for sale in the United States, or has induced others to make, use, sell, import, or offer for sale in the past, without authority products, equipment, or
services that infringe claim 2 of the ’569 patent, including without limitation, the Accused Instrumentalities.
                                                                             1
Note: All internet sources last accessed and downloaded May 28, 2020.
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                                           CLAIM CHARTS BASED ON PRELIMINARY INFRINGEMENT ANALYSIS
                                                           U.S. Patent No. 8,224,569

        Unless otherwise noted, Omnitek believes and contends that each element of each claim asserted herein is literally met through Volvo’s
provision of the Infringing Instrumentalities. However, to the extent that Volvo attempts to allege that any asserted claim element is not literally met,
Omnitek believes and contends that such elements are met under the doctrine of equivalents. More specifically, in its investigation and analysis of
the Infringing Instrumentalities, Omnitek did not identify any substantial differences between the elements of the patent claims and the corresponding
features of the Infringing Instrumentalities, as set forth herein. In each instance, the identified feature of the Infringing Instrumentalities performs at
least substantially the same function in substantially the same way to achieve substantially the same result as the corresponding claim element.

         To the extent the chart of an asserted claim relies on evidence about certain specifically-identified Accused Instrumentalities, Omnitek asserts
that, on information and belief, any similarly-functioning instrumentalities also infringes the charted claim. Omnitek reserves the right to amend this
infringement analysis based on other products made, used, sold, imported, or offered for sale by Volvo. Omnitek also reserves the right to amend
this infringement analysis by citing other claims of the ’569 patent, not listed in the claim chart, that are infringed by the Accused Instrumentalities.
Omnitek further reserves the right to amend this infringement analysis by adding, subtracting, or otherwise modifying content in the “Accused
Instrumentalities” column of each chart.




                                                                             2
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                                             CLAIM CHARTS BASED ON PRELIMINARY INFRINGEMENT ANALYSIS
                                                             U.S. Patent No. 8,224,569

Volvo Car Corporation - Sensus
Sensus Navigation is the fully integrated, connected navigation system that helps you get where you want to go as easily as possible. Helpful features include
Send to Car, which allows you to send destinations to your car, either from your browser or through the Volvo On Call app. Sensus Navigation also gives you
access to navigation-related services and apps that help you find new experiences and new places to go, in a way that’s intuitive and easy to understand.




Source: https://www.volvocars.com/intl/why-volvo/human-innovation/future-of-driving/connectivity/sensus-navigation

                                                                                3
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                                             CLAIM CHARTS BASED ON PRELIMINARY INFRINGEMENT ANALYSIS
                                                             U.S. Patent No. 8,224,569

 Claim    US Patent            Description of the Infringement
          8,224,569
 Indep.   A method for         Volvo integrates navigation functions (electronically generating driving directions) in the Sensus multimedia system installed in
  Cl. 2   electronically       their cars.
          generating driving
  2-p     directions without
          text entry, the
          method
          comprising:




                               Source: Volvo Sensus Navigation as featured in the V90 Cross Country https://www.telegraph.co.uk/business/sme-library/fleet-
                               management/connected-cars-questions-answered/ (annotation added)




                               Source: Volvo Sensus Navigation Tutorial @0:20, https://www.youtube.com/watch?v=KVlujeJ67N0 (annotation added)
                                                                                  4
Note: All internet sources last accessed and downloaded May 28, 2020.
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                                           CLAIM CHARTS BASED ON PRELIMINARY INFRINGEMENT ANALYSIS
                                                           U.S. Patent No. 8,224,569

 Claim   US Patent            Description of the Infringement
         8,224,569

                              In the Volvo Sensus Navigation system “Several navigation system functions can be activated with voice commands.” (without
                              text entry)




                              Source: Sensus Navigation Manual, p.9,
                              https://az685612.vo.msecnd.net/pdfs/60e30a5db4efb136ed86c99e372daac667634796/SensusNavigation_MY19_en-GB_TP28352.pdf
                              (emphasis added)



                                                                             5
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                                           CLAIM CHARTS BASED ON PRELIMINARY INFRINGEMENT ANALYSIS
                                                           U.S. Patent No. 8,224,569

 Claim   US Patent           Description of the Infringement
         8,224,569
  2-a    indicating a        The Volvo Sensus Navigation system uses the current location provided by the GPS controller and displayed on the screen as the
         starting address or starting location (indicating a starting location without text entry).
         starting location
         on a map without
         text entry;




                              Source: Sensus Navigation Manual, p.4,
                              https://az685612.vo.msecnd.net/pdfs/60e30a5db4efb136ed86c99e372daac667634796/SensusNavigation_MY19_en-GB_TP28352.pdf
                              (annotation added)




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                                           CLAIM CHARTS BASED ON PRELIMINARY INFRINGEMENT ANALYSIS
                                                           U.S. Patent No. 8,224,569

 Claim   US Patent            Description of the Infringement
         8,224,569
  2-b    indicating an        The Volvo Sensus Navigation system recognizes the voice command “Go to [Address]” which “Specifies an address as a
         ending address or    destination” (indicating an ending address or ending location on a map without text entry).
         ending location on
         a map without
         text entry;




                              Source: Sensus Navigation Manual, p.9,
                              https://az685612.vo.msecnd.net/pdfs/60e30a5db4efb136ed86c99e372daac667634796/SensusNavigation_MY19_en-GB_TP28352.pdf
                              (emphasis added)




                                                                            7
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                                           CLAIM CHARTS BASED ON PRELIMINARY INFRINGEMENT ANALYSIS
                                                           U.S. Patent No. 8,224,569

 Claim   US Patent           Description of the Infringement
         8,224,569
  2-c    generating driving The Volvo Sensus Navigation system “Settings are selected … to define how the route is to be calculated …. in the navigation
         directions based    system” (generating driving directions based on the indicated starting address, ending address).
         on the indicated
         starting address or
         starting location
         and ending
         address or ending
         location; and




                              Source: Sensus Navigation Manual, p.22,
                              https://az685612.vo.msecnd.net/pdfs/60e30a5db4efb136ed86c99e372daac667634796/SensusNavigation_MY19_en-GB_TP28352.pdf
                              (emphasis added)




                              Source: Volvo Sensus Navigation Tutorial @3:27, https://www.youtube.com/watch?v=KVlujeJ67N0 (annotation added)

                                                                               8
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                                           CLAIM CHARTS BASED ON PRELIMINARY INFRINGEMENT ANALYSIS
                                                           U.S. Patent No. 8,224,569

 Claim   US Patent            Description of the Infringement
         8,224,569
  2-d    indicating an        The Volvo Sensus Navigation provides for adding a “Junction” as a “Waypoint” to a route (intermediate address) and generating
         intermediate         an “itinerary” (driving directions from the starting address or location to the intermediate address and location and from the
         address or           intermediate address or location to the ending address or location) .
         location on the
         map

         where the
         generating
         generates driving
         directions

         from the starting
         address or
         location to the
         intermediate         Source: Volvo Sensus Navigation Tutorial @1:44, https://www.youtube.com/watch?v=KVlujeJ67N0 (annotation added)
         address and
         location and from
         the intermediate
         address or
         location to the
         ending address or
         location;




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                                              CLAIM CHARTS BASED ON PRELIMINARY INFRINGEMENT ANALYSIS
                                                              U.S. Patent No. 8,224,569

 Claim   US Patent             Description of the Infringement
         8,224,569
                               Source: Sensus Navigation Manual, p.15,
                               https://az685612.vo.msecnd.net/pdfs/60e30a5db4efb136ed86c99e372daac667634796/SensusNavigation_MY19_en-GB_TP28352.pdf (emphasis added)

  2-e    wherein the           The Volvo Sensus Navigation “displays the itinerary…during road navigation” (the intermediate address is indicated on a
         intermediate          different map as one of the starting and ending address.)
         address is
         indicated on a
         different map as
         one of the starting
         and ending
         address.




                               Source: Sensus Navigation Manual, p.15,
                               https://az685612.vo.msecnd.net/pdfs/60e30a5db4efb136ed86c99e372daac667634796/SensusNavigation_MY19_en-GB_TP28352.pdf (emphasis added)

                               The patent specifications provides for the maps being displayed sequentially on the screen.




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                                             CLAIM CHARTS BASED ON PRELIMINARY INFRINGEMENT ANALYSIS
                                                             U.S. Patent No. 8,224,569

 Claim    US Patent            Description of the Infringement
          8,224,569




                               Source: US Patent 8,224,569 (See column 5, lines 9-14)

Caveat: The notes and/or cited excerpts utilized herein are set forth for illustrative purposes only and are not meant to be limiting in any manner. For example,
the notes and/or cited excerpts, may or may not be supplemented or substituted with different excerpt(s) of the relevant reference(s), as appropriate. Further,
to the extent any error(s) and/or omission(s) exist herein, all rights are reserved to correct the same.




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